Fill in this information to identify the case:
Debtor name                        Pendy's Restaurant Group, LLC

United States Bankruptcy Court for the:                          EASTERN DISTRICT OF MICHIGAN

Case number:               25-43017
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing

Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11                                                                                       12/17

Month:                               April 2025                                                Date report filed:              05/28/2025
                                                                                                                              MM/DD/YYYY
Line of business:                    Restaurant                                                NAISC code:                      2511

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                                                Susan Pendy

Original signature of responsible party                           /s/ Susan Pendy

Printed name of responsible party                                 Susan Pendy

           1. Questionnaire
Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.

                                                                                                                                       Yes No N/A
     If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

1.      Did the business operate during the entire reporting period?                                                                   E
2.      Do you plan to continue to operate the business next month?                                                                    E             *   —   '
                                                                                                                                                             •




3.      Have you paid all of your bills on time?                                                                                       B
4.      Did you pay your employees on time?                                                                                            B
5.      Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                                        E     ri
6.      Have you timely filed your tax returns and paid all of your taxes?                                                             B
7.      Have you timely filed all other required government filings?                                                                   B
8.      Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                                              m
9.      Have you timely paid all of your insurance premiums?                                                                           B
  If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.

10.
11.
12.
          Do you have any bank accounts open other than the DIP accounts?
          Have you sold any assets other than inventory?
                                                                                                                B
          Have you sold or transferred any assets or provided services to anyone related to the DIP in any way? Q
                                                                                                                                               IB
                                                                                                                                               E
13.       Did any insurance company cancel your policy?                                                                                        B D
14.       Did you have any unusual or significant unanticipated expenses?                                                                      E
15.       Have you borrowed money from anyone or has anyone made any payments on your behalf?                                                  53
16.       Has anyone made an investment in your business?                                                       D                              B
17.       Have you paid any bills you owed before you filed bankruptcy?                                                                        m
18.       Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                                          E
                2. Summary of Cash Activity for All Accounts

 19 .     Total opening balance of all accounts                                                                                    $   10,501.97
          This amount must equal what you reported as the cash on hand at the end of the month in the previous
          month . If this is your first report , report the total cash on hand as of the date of the filing of this case .

 20.      Total cash receipts                                                                                                              ,
                                                                                                                                  $ 90 098.21

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